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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

____________________________________
                                             )
M.M.M., on behalf of his minor child,        )
 J.M.A., et al.,                             )
                                             )
                 Plaintiffs,                 )
                                             )
         v.                                  )        Civil Action No. 18-1759 (PLF)
                                             )
JEFFERSON BEAUREGARD SESSIONS, )
 III, Attorney General of the United States, )
 et al.,                                     )
                                             )
                 Defendants.                 )
____________________________________)


                                                ORDER

               For the reasons set forth in the Opinion issued this same day, it is hereby

               ORDERED that defendants’ motion to transfer venue [Dkt. No. 19] is

GRANTED; it is

               FURTHER ORDERED that Count IV of the complaint is severed from Counts I,

II, and III, and this case with those three claims will be transferred immediately, without any

waiting period, to the United States District Court for the Southern District of California to be

assigned, with his consent, to the Honorable Dana M. Sabraw, pursuant to 28 U.S.C. § 1404(a);

it is

               FURTHER ORDERED that the Court shall retain jurisdiction over Count IV of

the complaint as a separate action; and it is
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               FURTHER ORDERED that the Clerk of this Court is directed to assign a new

civil case number to the remaining count, Count IV. The Clerk of this Court is also directed to

assign Docket Numbers 2, 4, 5, 14, 16, 17, and 22, as well as the Docket Entry of July 27, 2018

and the Minute Order of July 30, 2018 to the new civil action.

               SO ORDERED.




                                                                 /s/
                                                     PAUL L. FRIEDMAN
                                                     United States District Judge

DATE: August 3, 2018




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